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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 DISPLAY TECHNOLOGIES, LLC,
        Plaintiff,


        v.                                          Case No. 6:21-cv-01111-ADA
 VOLVO CAR USA, LLC,
        Defendant.



             NOTICE REGARDING EXTENSION OF TIME TO RESPOND TO
             TO PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT

       Pursuant to the Court’s August 11, 2021 Standing Order, Defendant Volvo Car USA, LLC

(“Volvo”) files this Notice of an Extension of Time from November 22, 2021 to December 22,

2021, for Volvo to respond to Plaintiff Display Technologies, LLC’s (“Display”) Complaint for

Patent Infringement (Dkt. No. 1).

       On October 27, 2021, Display filed the above-referenced action. Volvo’s responsive

pleading is currently due on November 22, 2021.

       The Parties hereby agree to extend the deadline to move, answer, or otherwise respond to

Display’s Complaint by thirty (30) days, to December 22, 2021. This extension is for good cause,

is not sought for the purpose of delay, and will allow Volvo more time to prepare an appropriate

response.
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Dated: November 12, 2021                 Respectfully submitted,

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                            CERTIFICATE OF CONFERENCE

        On November 12, 2021, Plaintiff’s counsel stated that they did not oppose a 30-day
extension of Volvo Car USA, LLC’s time to answer, move to dismiss, or otherwise respond to
Plaintiff’s Complaint, up to and including December 20, 2021.

                                                   /s/ B. Todd Patterson
                                                   B. Todd Patterson

                               CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing document with the Clerk of the
Court by using the CM/ECF system on November 12, 2021.

                                                   /s/ B. Todd Patterson
                                                   B. Todd Patterson
